 Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.1 Filed 04/10/25 Page 1 of 31




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


CHINMAY DEORE, YOGESH JOSHI,
XIANGYUN BU, and QIUYI YANG,

      Plaintiffs,
                                                       Case No.
 v.
                                                       Hon.
KRISTI NOEM, in her official capacity as
Secretary of the U.S. Department of Homeland
Security; TODD LYONS, in his official capacity
as Acting Director of U.S. Customs and
Immigration Enforcement; and ROBERT
LYNCH, in his official capacity as Field Office
Director of Detroit, U.S. Immigration and Customs
Enforcement,

      Defendants.


                           VERIFIED COMPLAINT

                               INTRODUCTION

      1.     On or about April 4, 2025, the United States Department of Homeland

Security (“DHS”) began to unilaterally terminate the F-1 student status of numerous

students throughout the United States under the Student and Exchange Visitor

Information System (“SEVIS”), the database used both by DHS and by universities

around the country to track and document the continuing status of students who are




                                        1
    Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.2 Filed 04/10/25 Page 2 of 31




authorized to be in the United States to study pursuant to an F-1 visa or other study-

related visas.1

        2.    DHS did not provide the students or their schools any meaningful

explanation for terminating their F-1 student status. At most, what seems to connect

students targeted by this newfound and unlawful policy is that the students had some

encounter with some American law enforcement official at some point in the past,

no matter how innocuous—including receiving a speeding or parking ticket (or even

a warning) or lawfully withdrawing an application to enter the United States.

        3.    Plaintiffs Chinmay Deore, Yogesh Joshi, Xiangyun Bu, and Qiuyi

Yang are among those students. They are students at Michigan-based public

universities. Chinmay has been pursuing a bachelor’s degree in computer science at

Wayne State University since August 2021. Yogesh has been pursuing a Ph.D. in

anatomy and cell biology at Wayne State University since August 2021. Xiangyun

has been pursuing a master’s degree in mechanical engineering at the University of

Michigan since August 2023. And Qiuyi has been pursuing a Ph.D. at the School for


1
   Elizabeth Román, 5 Umass Amherst Students Have Visas Revoked, New
Hampshire Public Radio (Apr. 5, 2025), https://www.nhpr.org/2025-04-05/5-umass-
amherst-students-have-visas-revoked; Katy Stegall & Esmeralda Perez, Five USCD
Students’ Visas Revoked and Additional Person Deported, University Confirms,
CBS 8 (Apr. 5, 2025), https://www.cbs8.com/article/news/local/five-ucsd-students-
f-1-visas-revoked-additional-deported/509-2c257e52-4a31-42f7-8e3e-
f6bd92a287b3; Molly Farrar, Feds Quietly Revoke Visas of Multiple UMass,
Harvard students, Boston.com (Apr. 6, 2025), https://www.boston.com/news/local-
news/2025/04/06/feds-quietly-revoke-visas-of-multiple-umass-harvard-students/.

                                          2
 Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.3 Filed 04/10/25 Page 3 of 31




Environment and Sustainability at the University of Michigan since August 2023.

None of them has been charged with, let alone convicted of, any crime in the United

States. Some have not even committed a traffic violation. None has violated any

immigration law. Nor have they been active in on-campus protests regarding any

political issue.

       4.     Plaintiffs’ dreams of finishing their studies in the United States are now

in severe jeopardy because of Defendants’ decision to abruptly terminate their F-1

student status under SEVIS without affirmatively notifying them—or even their

schools—of the termination or the reasons for it, and without providing them with

any opportunity to contest the termination.

       5.     Instead of being notified by DHS or another government agency,

Plaintiffs each received an email from their respective school informing them that

the school learned during their periodic check of SEVIS records that the Plaintiff’s

student status had been terminated.

       6.     The reason for termination, as recorded in SEVIS, was largely the same

for each Plaintiff: “OTHERWISE FAILING TO MAINTAIN STATUS: Individual

identified in criminal records check and/or has had their VISA revoked. SEVIS

record has been terminated.” Yogesh’s terminated SEVIS record used slightly

different prefatory language: “OTHER: Individual identified in criminal records

check and/or has had their VISA revoked. SEVIS record has been terminated.”


                                           3
 Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.4 Filed 04/10/25 Page 4 of 31




Qiuyi’s terminated SEVIS record was also amended to the same language as

Yogesh’s.

      7.     Plaintiffs’ respective schools were not able to provide any additional

information as to why Plaintiffs’ student status was terminated. The schools advised

only that Plaintiffs make arrangements to leave the country immediately.

      8.     This news shocked Plaintiffs. During the multiple years that each has

dutifully maintained their F-1 student status, they have not violated any rules

governing the maintenance that status, such as “fail[ing] to maintain a full course of

study[.]” See 8 C.F.R. § 214.2(f)(5)(iv). In fact, Plaintiffs have been star students

and model members of their respective school communities.

      9.     In light of DHS’s unilateral termination of Plaintiffs’ F-1 student status

under SEVIS without sufficient notice and explanation, Plaintiffs’ ability to

complete their degrees as F-1 students, work as paid researchers and instructors, and

pursue post-graduate opportunities in the United States has been severely disrupted.

Moreover, they may face immediate detention and deportation. Indeed, having and

maintaining F-1 student status is critical because it can serve as a form of relief and

defense in removal proceedings.

      10.    At the most elemental level, the United States Constitution requires

notice and a meaningful opportunity to be heard. See Scorteanu v. I.N.S., 339 F.3d

407, 413 (6th Cir. 2003) (due process entitles noncitizens to “notice that is


                                          4
    Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.5 Filed 04/10/25 Page 5 of 31




reasonably calculated, under the circumstances, to apprise interested parties of the

pendency of the action and afford them an opportunity to present their objections”)

(internal quotations omitted). See also Matthews v. Eldridge, 424 U.S. 319, 322

(1976). No such process was provided here.

        11.   To be clear, Plaintiffs do not challenge the revocation of their F-1 visas

in this case, assuming that their visas were actually revoked at all.2 Instead, Plaintiffs

bring this lawsuit to challenge Defendants’ unlawful termination of their F-1 student

status in SEVIS.

        12.   There is a difference between an F-1 student visa and an F-1 student

status. The F-1 student visa refers only to the document that grants permission for a

noncitizen student to enter the United States, whereas F-1 student status, which is

what is tracked in SEVIS, refers to that student’s formal immigration classification

in the United States after they have entered.

        13.   The revocation of an F-1 visa does not constitute a failure to maintain

F-1 student status and, therefore, cannot serve as a basis for termination of F-1

student status in SEVIS. See 8 C.F.R. § 214.1(d). Instead, DHS’s ability to terminate

F-1 student status under SEVIS “is limited by [8 C.F.R.] § 214.1(d).” Jie Fang v.


2
  Plaintiffs have received no direct communications from the U.S. State Department
regarding the revocation of their F-1 visas. In fact, Chinmay transitioned from an H-
4 visa to F-1 status while already in the United States, and thus never had (or needed)
an F-1 visa.


                                            5
    Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.6 Filed 04/10/25 Page 6 of 31




Director U.S. Immigration & Customs Enforcement, 935 F.3d 172, 185 n.100 (3d

Cir. 2019). Under 8 C.F.R. § 214.1(d), DHS can terminate F-1 student status in

SEVIS only when: (1) a previously granted waiver under 8 U.S.C. § 1182(d)(3) or

(4) is revoked; (2) a private bill to confer lawful permanent residence is introduced

in Congress; or (3) DHS publishes a notification in the Federal Register identifying

national security, diplomatic, or public safety reasons for termination. In other

words, under this regulation, the revocation of an F-1 visa does not provide a legal

basis to terminate F-1 student status under the SEVIS system.

        14.   DHS’s own policy guidance confirms that “[v]isa revocation is not, in

itself, a cause for termination of the student’s SEVIS record.” U.S. Immigration and

Customs Enforcement, Policy Guidance 1004-04 – Visa Revocations (June 7, 2010)

(emphasis added). 3 Rather, if the visa is revoked, the student is permitted to continue

their course of study in school, and it is only upon departure from the United States

that their SEVIS record is terminated. After that occurs, the student would need to

obtain a new visa from a consulate or embassy abroad if they wish to re-enter the

United States. See U.S. Department of State, Guidance Directive 2016-03, 9 FAM

403.11-3: VISA REVOCATION (Sept. 12, 2016). 4



3
  Available at https://www.ice.gov/doclib/sevis/pdf/visa_revocations_1004_04.pdf.
4
 Available at https://www.aila.org/library/dos-guidance-directive-2016-03-on-visa-
revocation.


                                           6
    Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.7 Filed 04/10/25 Page 7 of 31




        15.   In other words, if DHS wishes to terminate F-1 student status under

SEVIS after (or independent of) revoking an F-1 visa, DHS must comply with 8

C.F.R. § 214.1(d). See Jie Fang, 935 F.3d at 185 n.100. DHS has not done so here.

                          JURISDICTION AND VENUE

        16.   Jurisdiction is proper under 28 U.S.C. § 1331 (federal question), 28

U.S.C. § 1346 (federal defendant), and 5 U.S.C. § 702 (right of review).

        17.   Venue is proper in the Eastern District of Michigan under 28 U.S.C. §

1391(e), as at least one Plaintiff and at least one federal officer Defendant reside in

the Eastern District.

        18.   This Court is authorized to grant the requested relief under 5 U.S.C. §

706, 28 U.S.C. §§ 2201-2202, 28 U.S.C. § 1651, and the Court’s equitable powers.

                                     PARTIES 5

        19.   Plaintiff Chinmay Deore is a 21-year-old undergraduate student at

Wayne State University, where he has been studying computer science since August

2021. He is a native and citizen of India. He first entered the United States with his

family on an H-4 dependent visa in 2004. He and his family left the United States in

2008, and he later returned with his family (again on an H-4 dependent visa) in 2014.

After completing high school in Michigan, he enrolled at Wayne State University



5
 Declarations from Plaintiffs verifying the facts in this complaint are attached as
Exhibit A.

                                          7
 Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.8 Filed 04/10/25 Page 8 of 31




under his H-4 status. In May 2022, he lawfully applied for, and was granted,

permission to transition to F-1 student status when he was aging out of his H-4 status.

He anticipates completing his course of study and graduating in May 2025. He

currently resides with his immediate family in Canton. He has never been charged

with or convicted of a crime in the United States. And other than a speeding ticket

and a parking ticket (the fines for which he promptly paid), he has not been charged

with any civil infraction, motor vehicle code violation, or immigration law violation.

He has not been active in on-campus protests regarding any political issue.

      20.    Plaintiff Yogesh Joshi is a 32-year-old Ph.D. student at Wayne State

University, where he has been studying anatomy and cell biology since August 2021.

He is a native and citizen of Nepal. He initially entered the United States on an F-1

visa in August 2021 and currently resides in Detroit with his wife and his eight-

month-old U.S.-citizen child. He anticipates completing his course of study and

graduating in 2026. He has never been charged with or convicted of a crime in the

United States. And other than a parking ticket (the fine for which he promptly paid),

he has not been charged with any civil infraction, motor vehicle code violation, or

immigration law violation. He has not been active in on-campus protests regarding

any political issue.

      21.    Plaintiff Xiangyun Bu is a 25-year-old master’s student at the

University of Michigan, where he has been studying mechanical engineering since


                                          8
 Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.9 Filed 04/10/25 Page 9 of 31




August 2023. He is a native and citizen of China. He entered the United States on an

F-1 visa in August 2023, and currently resides in Ann Arbor. He anticipates

completing his course of study and graduating with a master’s degree in May 2025,

after which he plans to enroll in a Ph.D. program at Carnegie Mellon University

(where he has already been admitted and has committed), and where he would have

been entitled to enroll pursuant to his F-1 status without further DHS adjudication.

He has never been charged with or convicted of a crime, nor has he ever been

charged with any civil infraction, motor vehicle code violation, or immigration law

violation. He has not been active in on-campus protests regarding any political issue.

      22.    Plaintiff Qiuyi Yang is a 26-year-old Ph.D. student at the University

of Michigan, where she has been studying at the School for Environment and

Sustainability since August 2023. Before that, she attended Cornell University from

August 2021 until she earned a master’s degree in urban planning in May 2023. She

then lawfully transferred her F-1 student status to the University of Michigan. She

is a native and citizen of China. She initially entered the United States on an F-1 visa

in August 2021 (to attend Cornell) and currently resides in Ann Arbor. She

anticipates completing her course of study and graduating in 2028. She has never

been charged with or convicted of a crime in the United States. And other than a few

parking tickets (the fines for which she promptly paid), she has not been charged




                                           9
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.10 Filed 04/10/25 Page 10 of 31




with any civil infraction, motor vehicle code violation, or immigration law violation.

She has not been active in on-campus protests regarding any political issue.

      23.    Defendant Kristi Noem is the Secretary of the Department of

Homeland Security (“DHS”). She is sued in her official capacity.

      24.    Defendant Todd Lyons is the Acting Director of the Immigration and

Customs Enforcement (“ICE”), a component of DHS. He is sued in his official

capacity.

      25.    Defendant Robert Lynch is the Field Office Director of ICE’s Detroit

Field Office and would be the official in charge of any attempt to arrest or detain

Plaintiffs. He is sued in his official capacity.

                                        FACTS

                   Background on F-1 Student Visa and Status

      26.    Under the Immigration and Nationality Act (“INA”), noncitizens can

enroll in government-approved academic institutions as F-1 students. See 8 U.S.C.

§ 1101(a)(15)(F). Admitted students living abroad enter the United States on an F-1

visa issued by the U.S. Department of State, and once they enter, are granted F-1

student status and permitted to remain in the United States for the duration of status

(D/S) as long as the student continues to meet the requirements established by the

regulations governing the student’s visa classification in 8 C.F.R. § 214.2(f), such as

maintaining a full course of study and avoiding unauthorized employment. DHS’s


                                           10
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.11 Filed 04/10/25 Page 11 of 31




Student and Exchange Visitor Program (“SEVP”) administers the F-1 student

program and tracks information on students with F-1 student status.

      27.    An academic institution must obtain formal approval from DHS before

it can sponsor a student’s F-1 status. An institution must first file an application for

School Certification through SEVIS system, a SEVP-managed internet-based

system used to track and monitor schools and noncitizen students in the United

States. See 8 C.F.R. § 214.3. The University of Michigan and Wayne State

University have both been formally approved to sponsor F-1 students.

      28.    Each school that sponsors F-1 students has a Designated School

Official (“DSO”) who monitors, advises, and oversees the students attending that

school.

      29.    F-1 students are subject to an array of regulations, including

maintaining a full course of study. 8 C.F.R. § 214.2(f)(6). See generally 8 C.F.R. §

214.2(f). F-1 students are also entitled to participate in two types of practical training

programs: Curricular Practical Training (“CPT”) and Optional Practical Training

(“OPT”). See 8 C.F.R. § 214.2(f)(10). CPT is any “alternative work/study,

internship, cooperative education or any other type of required internship or

practicum that is offered by sponsoring employers through cooperative agreements

with the school.” 8 C.F.R. § 214.2(f)(10)(i)). CPT usually occurs during a student’s

course of study (i.e., before graduation), and often encompasses paid teaching or


                                           11
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.12 Filed 04/10/25 Page 12 of 31




assistantship positions for graduate students. OPT consists of temporary

employment that is “directly related to the student’s major area of study.” 8 C.F.R.

§ 214.2 (f)(10)(ii). OPT usually occurs at the end of the student’s course of study

(i.e., after graduation).

       30.      Once a student has completed their course of study and any

accompanying CPT or OPT, they generally have sixty days to either depart the

United States or transfer to another accredited academic institution. 8 C.F.R. § 214.2

(f)(5)(iv). If a student has been approved to transfer to another school (including to

pursue a higher degree), they are authorized to remain in the United States for up to

five months while awaiting matriculation at the transfer institution. 8 C.F.R §

214.2(f)(8)(i). If a student voluntarily withdraws from the F-1 program, “he or she

has fifteen days to leave the United States.” Id. Finally, a student who “who fails to

maintain a full course of study without the approval of the DSO or otherwise fails to

maintain status,” id., must leave the country immediately or seek reinstatement of

their status.

                 Background on Termination of F-1 Student Status

       31.      Termination of F-1 student status in SEVIS is governed by SEVP

regulations. The regulations distinguish between two separate ways a student may

fall out of status: (1) a student who “fails to maintain status”; and (2) an agency-

initiated “termination of status.” See 8 C.F.R. § 214.2(f).


                                          12
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.13 Filed 04/10/25 Page 13 of 31




      32.     Students fail to maintain their F-1 student status when they do not

comply with the regulatory requirements of F-1 status, such as failing to maintain a

full course of study without prior approval, engaging in unauthorized employment,

or other violations of the requirements under 8 C.F.R. § 214.2(f). In addition, 8

C.F.R. § 214.1(e)-(g) outlines specific circumstances where certain conduct by any

nonimmigrant visa holder, such as engaging in unauthorized employment, providing

false information to DHS, or being convicted of a crime of violence with a potential

sentence of more than a year, “constitute a failure to maintain status.” DSOs at

schools must report to SEVP, via SEVIS, when a student fails to maintain status. See

8 C.F.R. § 214.3(g)(2).

      33.     On the other hand, DHS’s ability to initiate the termination of F-1

student status “is limited by [8 C.F.R.] § 214.1(d).” Jie Fang, 935 F.3d at 185 n.100.

Under this regulation, DHS can terminate F-1 student status under the SEVIS system

only when: (1) a previously granted waiver under 8 U.S.C. § 1182(d)(3) or (4) is

revoked; (2) a private bill to confer lawful permanent residence is introduced in

Congress; or (3) DHS publishes a notification in the Federal Register identifying

national security, diplomatic, or public safety reasons for termination. See 8 C.F.R.

§ 214.1(d).

      34.     Accordingly, the revocation of an F-1 visa does not constitute a failure

to maintain F-1 student status and otherwise cannot serve as a basis for agency-


                                          13
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.14 Filed 04/10/25 Page 14 of 31




initiated termination of F-1 student status in SEVIS. Of course, if an F-1 visa is

revoked before the student’s admission into the United States, the student may not

enter, and their F-1 student status in SEVIS would be cancelled. However, the F-1

student status in SEVIS may not be terminated simply because of visa revocation

after a student has been admitted into the United States. In DHS’s own words, “[v]isa

revocation is not, in itself, a cause for termination of the student’s SEVIS record.”

ICE Policy Guidance 1004-04 – Visa Revocations (June 7, 2010).6

        35.    Rather, if an F-1 visa is revoked after admission, the student is

permitted to pursue their course of study uninterrupted. Once that student completes

their study and departs from the United States, the SEVIS record would then be

terminated, and the student would need to obtain a new visa from a consulate or

embassy abroad before returning to the United States. See Guidance Directive 2016-

03, 9 FAM 403.11-3: VISA REVOCATION (Sept. 12, 2016).7

        36.    While a visa revocation can be charged as a ground of deportability in

removal proceedings, deportability (and the revocation of the visa) can expressly be

contested in such proceedings. See 8 U.S.C. § 1227(a)(1)(B); 8 U.S.C. § 1201(i).

The immigration judge may also dismiss removal proceedings where a visa is

revoked, so long as a student is able to remain in valid status or otherwise reinstates


6
    https://www.ice.gov/doclib/sevis/pdf/visa_revocations_1004_04.pdf.
7
    https://www.aila.org/library/dos-guidance-directive-2016-03-on-visa-revocation.

                                          14
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.15 Filed 04/10/25 Page 15 of 31




to F-1 student status. See 8 C.F.R. § 1003.18(d)(ii). Only when a final removal order

is entered would the status be lost.

      37.    On the other hand, the Immigration Judge has no ability to review the

termination of F-1 student status in SEVIS because the process is collateral to

removal proceedings. See Jie Fang, 935 F.3d at 183.

      38.    Students who have failed to maintain F-1 status may seek reinstatement.

Under regulations,

      a district director in the U.S. Citizenship and Immigration Services
      (‘USCIS’) ‘may consider’ reinstating a student who demonstrates that
      he or she: 1) ‘has not been out of [valid F-1] status for more than 5
      months at the time of filing the request for reinstatement’ or that ‘the
      failure to file within the 5 month period was the result of exceptional
      circumstances and that the student filed the request for reinstatement as
      promptly as possible under these exceptional circumstances;’ 2) does
      ‘not have a record of repeated or willful violations of Service
      regulations’; 3) is pursuing or intends to pursue a full course of study;
      4) has not engaged in unauthorized employment; 5) is not deportable
      on any ground other than 8 U.S.C. § 1227(a)(1)(B) and (C)(i); and 6)
      can prove that the violation of status resulted from circumstances
      beyond the student’s control, or that the violation relates to a reduction
      in the student’s course load that would have otherwise been permitted
      if authorized by the school and that failure to approve reinstatement
      would result in extreme hardship to the student.
Jie Fang, 935 F.3d at 176 (citing and quoting 8 C.F.R. § 214.2(f)(16)(i)(A)-(F)).

                 Termination of Plaintiffs’ F-1 Student Statuses

      39.    Chinmay Deore is a 21-year-old citizen of India and an undergraduate

student at Wayne State University. He entered the United States on an H-4 dependent

visa, and lawfully applied and was approved by USCIS to change his status to F-1

                                         15
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.16 Filed 04/10/25 Page 16 of 31




student status since May 2022. He expects to graduate with a bachelor’s degree in

May 2025. Following graduation, he had planned to exercise his right, pursuant to

his F-1 status, to obtain lawful OPT employment.

      40.    On April 4, 2025, Wayne State University informed Chinmay that his

F-1 student status in SEVIS had been terminated. Specifically, the email he received

stated: “Our record shows that your SEVIS has been terminated this morning-

TERMINATION         REASON: OTHERWISE              FAILING       TO     MAINTAIN

STATUS - Individual identified in criminal records check and/or has had their

VISA revoked. SEVIS record has been terminated.” Exhibit B (emphasis in

original). No further details or allegations were provided.

      41.    However, Chinmay has never been charged with, let alone convicted

of, a crime. And besides a speeding ticket and a parking ticket (the fines for which

he promptly paid), he has no civil infractions on his record. Nor has he ever violated

any immigration law. In sum, Chinmay’s criminal, civil, and immigration record is

virtually clean.

      42.    Furthermore, he has not received any notice from the Department of

State that any F-1 visa attributed to him has been revoked. Indeed, because he

applied for F-1 student status while lawfully present in the United States as an H-4

visa recipient, he never even received an F-1 visa that could be canceled in the first




                                         16
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.17 Filed 04/10/25 Page 17 of 31




place. He has complied with all rules and regulations as someone with F-1 student

status. He does not know why his F-1 student status in SEVIS was terminated.

         43.     Yogesh Joshi is a 32-year-old citizen of Nepal and a Ph.D. student at

Wayne State University. He entered the United States on an F-1 visa in August 2021,

and has maintained F-1 student status since then. He expects to graduate with a Ph.D.

in 2026.

         44.     On April 8, 2025, Wayne State University informed Yogesh that his F-

1 student status in SEVIS had been terminated. Specifically, the email he received

stated: “I must inform you that your SEVIS immigration record has been terminated

today by the Department of Homeland Security. The reason cited on your SEVIS

record     for     your   immigration    record   termination   is:   TERMINATION

REASON: TERMINATION REASON: OTHER - Individual identified in

criminal records check and/or has had their VISA revoked. SEVIS record has

been terminated. We do not have access to any information specific to why your

SEVIS termination, but your lawful status in the U.S. is terminated, and you are at

risk of detention and deportation.” Exhibit C (emphasis in original).

         45.     However, Yogesh has never been charged with, let alone convicted of,

a crime. At most, he was arrested for a domestic dispute with his now-wife in 2022,

but he was promptly released and no charges were filed. And besides a parking ticket

(the fine for which he promptly paid), he has no civil infractions on his record. Nor


                                           17
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.18 Filed 04/10/25 Page 18 of 31




has he ever violated any immigration law. In sum, Yogesh’s criminal, civil, and

immigration record is virtually clean.

      46.    Furthermore, he has not received any notice from the Department of

State that his F-1 visa has been revoked. He has complied with all rules and

regulations as someone with F-1 student status. He does not know why his F-1

student status in SEVIS was terminated.

      47.    Xiangyun Bu is a 25-year-old citizen of China and a master’s student

at the University of Michigan. He entered the United States on an F-1 visa in August

2023, and has maintained F-1 student status since then. He expects to graduate with

a master’s degree in May 2025. He has been admitted and has committed to a Ph.D.

program at Carnegie Mellon University, to begin in August 2025, in which he should

be entitled to enroll as a student and continue his F-1 student status. He has also

applied for lawful summer employment, as is his right under his F-1 status pursuant

to the OPT program.

      48.    On April 7, 2025, the University of Michigan informed Xiangyun that

his F-1 student status in SEVIS had been terminated. Specifically, the email he

received stated: “I am writing to inform you that we unfortunately learned during

our daily check of SEVIS records that your SEVIS record was ‘terminated’ by a

Department of Homeland Security (DHS) official. The reason noted was

‘OTHERWISE FAILING TO MAINTAIN STATUS - Individual identified in


                                          18
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.19 Filed 04/10/25 Page 19 of 31




criminal records check and/or has had their VISA revoked. SEVIS record has been

terminated.’ We do not have any additional information about this termination, but

this means you no longer hold valid F-1 status within the United States.” Exhibit D.

      49.    However, Xiangyun has never been charged with, let alone convicted

of, a crime. He has no civil infractions on his record (not even a speeding or parking

ticket), nor has he ever violated any immigration law. In December of 2022, well

before acquiring his F-1 status, he sought to enter the United States on a visitor’s

visa to visit his girlfriend at the time for a semester. He lawfully and voluntarily

withdrew his application for admission after being told by a border patrol officer that

a stay of that length would not be permitted. In sum, Xiangyun’s criminal, civil, and

immigration record is virtually clean.

      50.    Furthermore, he has not received any notice from the Department of

State that his F-1 visa has been revoked. He has complied with all rules and

regulations as someone with F-1 student status. He does not know why his F-1

student status in SEVIS was terminated.

      51.    Qiuyi Yang is a 26-year-old citizen of China and a Ph.D. student at

University of Michigan. She entered the United States on an F-1 visa in August 2021,

and has maintained F-1 student status since then. She expects to graduate with a

Ph.D. in 2028.




                                          19
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.20 Filed 04/10/25 Page 20 of 31




      52.    On April 4, 2025, the University of Michigan informed Qiuyi that her

F-1 student status in SEVIS had been terminated. Specifically, the email she received

stated: “I am reaching out regarding your immigration record. In our daily review of

SEVIS, we learned that your SEVIS record was ‘terminated’ by a Department of

Homeland Security (DHS) official. The reason noted was ‘OTHERWISE FAILING

TO MAINTAIN STATUS – Individual identified in criminal records check and/or

has had their VISA revoked. SEVIS record has been terminated.’ We do not have

any additional information, but this termination means you no longer hold valid F-1

status within the United States.” Exhibit E.

      53.    On April 8, 2024, the University of Michigan followed up with Qiuyi

via email to inform her that SEVIS now reflected a slightly different termination

reason: “A check of your current SEVIS record shows: ‘TERMINATION REASON:

OTHER - Individual identified in criminal records check and/or has had their VISA

revoked. SEVIS record has been terminated.’ A point of clarification: if the

government terminates the SEVIS record (rather than our office), as is the case in

your circumstance, then the university international office cannot change the

termination reason.” Exhibit F.

      54.    However, Qiuyi has never been charged with, let alone convicted of, a

crime. At most, she was arrested for a domestic dispute with her current partner in

2024, but she was promptly released and no charges were filed. And besides a few


                                         20
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.21 Filed 04/10/25 Page 21 of 31




parking tickets (the fines for which she promptly paid), she has no civil infractions

on her record. Nor has she ever violated any immigration law. In sum, Qiuyi’s

criminal, civil, and immigration record is virtually clean.

      55.    Furthermore, she has not received any notice from the Department of

State that her F-1 visa has been revoked. She has complied with all rules and

regulations as someone with F-1 student status. She does not know why her F-1

student status in SEVIS was terminated.

      56.    These terminations have put Plaintiffs’ education, research, and career

trajectory at risk. In particular, Chinmay is no longer able to obtain OPT, and his

ability to transfer his F-1 status to another school for a master’s degree is in jeopardy.

He has also lost a position he lawfully held pursuant to his F-1 status, a position that

provided income that he relied on to support himself. If removed from the United

States he would also be torn away from his parents and sister, all of whom lawfully

reside in Canton, Michigan. Yogesh has lost a position he lawfully held pursuant to

his F-1 status as a paid research assistant and a graduate instructor—a position that

provided income he relied on to support his family, including his U.S. citizen child.

Xiangyun is no longer able to obtain OPT (his application is pending but may be

denied because of his status termination), and he will be unable to attend Carnegie

Mellon for the Ph.D. program (to which he has already committed) if his F-1 status

is not restored promptly. And Qiuyi has lost a position she lawfully held pursuant to


                                           21
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.22 Filed 04/10/25 Page 22 of 31




her F-1 status to work as a paid research assistant and a graduate instructor—a

position that provided income she relied on to support herself while studying in the

United States.

      57.    In addition, Plaintiffs’ status terminations also put each at serious risk

of immediate arrest and detention for removal proceedings—an outcome other

students have already faced.8

      58.    The unlawful terminations of Plaintiffs’ F-1 status are part of a clear

policy and pattern/practice, whether written or not, perpetuated by Defendants to

cancel the status of hundreds, if not thousands, of immigrant students nationwide.

On April 7, 2025, Inside Higher Ed, an industry publication, had already reported

147 terminations at 48 different educational institutions and indicated that this

estimate was “almost certainly a fraction of the total” because “[m]any . . . colleges

are reluctant to publicly confirm any student visa revocations [because they are]

anxious to avoid attracting federal scrutiny and uncertain how to navigate an

increasingly fraught gray zone.”9 The same publication noted that “more than a

dozen officials at small colleges” demanded anonymity to discuss cancellations and


8
 See, e.g., Ozturk v. Trump, No. 25-cv-10695-DJC, __ F. Supp. 3d __, 2025 LEXIS
64831, 2025 WL 1009445 (D. Mass. Apr. 4, 2025).
9
 Laim Knox, Student Visa Dragnet Reaches Small Colleges, Inside Higher Ed (April
8, 2025), https://www.insidehighered.com/news/global/international-students-
us/2025/04/08/trump-admin-broadens-scope-student-visa (accessed April 9, 2025).


                                         22
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.23 Filed 04/10/25 Page 23 of 31




contains a map that has subsequently updated as of April 9, 2025, documenting

almost 450 cancellations at nearly 100 colleges and universities—including six

universities in Michigan. Mass cancellations have also been documented this week

in numerous news sources. 10

      59.    The timing and uniformity of these terminations leave little question

that DHS has adopted a nationwide policy, whether written or not, of mass

termination of student status in SEVIS. While the exact details of the policy are not

currently known, the experience of Plaintiffs and of other publicly reported cases

strongly suggests that the terminations are being indiscriminately made based upon

any information that a given student has had some kind of encounter with a law

enforcement official, no matter how innocuous, or a prior encounter with

immigration agents even if that encounter did not involve unlawful conduct.

      60.    These unlawful cancellations have also been the subject of lawsuits in

federal district court in the District of New Hampshire, the Central District of


10
   See, e.g., Andy Rose & Caroll Alvarado, More than 300 Student Visas Revoked
As the Government Expands Reasons for Deportation, CNN (April 9, 2025),
https://www.cnn.com/2025/04/09/us/us-immigration-student-visas-
revoked/index.html; Collin Binkley, Annie Ma & Makiya Seminera, Federal
Officials Are Quietly Terminating the Legal Residency of Some International
College        Students,     Associated       Press       (Apr.       4,    2025),
https://apnews.com/article/college-international-student-f1-visa-ice-trump-
7a1d186c06a5fdb2f64506dcf208105a; Ava Hu, Deported Over a Speeding Ticket?
Dozens of US Students’ Visas Abruptly Revoked, The Guardian (Apr. 7, 2025),
https://www.theguardian.com/us-news/2025/apr/07/trump-student-visas-
deportation.

                                         23
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.24 Filed 04/10/25 Page 24 of 31




California, and the Western District of Pennsylvania. 11 The district court in New

Hampshire issued a temporary restraining order similar to the one sought here, and

on a similar legal theory, on April 9, 2025. See Liu v. Noem, No. 25-cv-133, Minute

Entry (D.N.H. April 9, 2025); id. at ECF No. 13 (Order).

                             CLAIMS FOR RELIEF

                                  COUNT 1
            Violation of Fifth Amendment – Procedural Due Process
                       (F-1 Student Status Terminations)

      61.    The foregoing allegations are realleged and incorporated herein.

      62.    The United States Constitution requires notice and a meaningful

opportunity to be heard before being deprived of rights and interests that can be

withdrawn only for cause by law. See Scorteanu v. I.N.S., 339 F.3d 407, 413 (6th

Cir. 2003) (due process entitles noncitizens to “notice that is reasonably calculated,

under the circumstances, to apprise interested parties of the pendency of the action

and afford them an opportunity to present their objections”).

      63.    The law, namely 8 C.F.R. § 214.1(d), provides the specific bases upon

which an immigrant student’s F-1 status can be terminated by DHS.

      64.    Defendants terminated each Plaintiff’s F-1 student status under SEVIS

without (i) notifying them of the termination decision and the reasons for it, (ii)


11
  See Liu v. Noem, No. 25-cv-133 (D.N.H. filed Apr. 7, 2025); C.S. v. Noem, No.
25-477 (W.D. Pa. filed Apr. 7, 2025); Student Doe #1 v. Noem, No. 25-cv-847 (C.D.
Cal. filed Apr. 5, 2025).

                                         24
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.25 Filed 04/10/25 Page 25 of 31




providing them an individualized hearing before an impartial adjudicator, and (iii)

failing to provide Plaintiff with adverse evidence and an opportunity to confront and

respond to such evidence.

      65.    Defendants’ disregard for complying with the well-established due

process principles violated Plaintiffs’ due process rights.

                                  COUNT 2
       Violation of Administrative Procedure Act and Accardi Doctrine
         (Unlawful Terminations of Plaintiffs’ F-1 Student Statuses)

      66.    The foregoing allegations are realleged and incorporated herein.

      67.    Defendants’ termination of each Plaintiff’s F-1 student status under

SEVIS is a final agency action. See Jie Fang, 935 F.3d at 182 (“The order

terminating these students’ F-1 visas marked the consummation of the agency’s

decisionmaking process, and is therefore a final order[.]”).

      68.    Defendants’ termination of each Plaintiff’s F-1 student status under

SEVIS violates the Administrative Procedure Act (APA) and should be set aside

pursuant to 5 U.S.C. § 706(2) as arbitrary, capricious, an abuse of discretion,

contrary to constitutional right, contrary to law, in excess of statutory jurisdiction,

and in violation of the Accardi doctrine and federal agencies’ own rules, see Accardi

v. Shaughnessy, 347 U.S. 260 (1954).

      69.    Under 8 C.F.R. § 214.1(d), Defendants have no statutory or regulatory

authority to terminate each Plaintiff’s F-1 student status in SEVIS based simply on


                                          25
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.26 Filed 04/10/25 Page 26 of 31




revocation of a visa. Additionally, nothing in Plaintiffs’ (lack of) criminal history,

academic record, or other applicable history or record provides a statutory or

regulatory basis for termination or even for determining that any of Plaintiffs have

failed to maintain their F-1 status.

      70.    Additionally, in making its determination that each Plaintiff’s student

status should be terminated, Defendants did not consider any facts relevant to

Plaintiffs’ individual circumstances nor did it provide any explanation, let alone

reasoned explanation, justifying its determination. As a result, Defendants arbitrarily

and capriciously terminated each Plaintiff’s F-1 student status under SEVIS.

      71.    Moreover, Defendants terminated each Plaintiff’s F-1 student status

under SEVIS without affording them meaningful notice and an opportunity to be

heard, contrary to Plaintiffs’ constitutional right to procedural due process.

      72.    Therefore, Defendants’ termination of each Plaintiff’s F-1 student

status under SEVIS is arbitrary and capricious, an abuse of discretion, contrary to

constitutional right, contrary to law, and in excess of statutory jurisdiction. 5

U.S.C.A. § 706(2). It is also not in accordance with DHS’s own rules.

                                  COUNT 3
       Violation of Administrative Procedure Act and Accardi Doctrine
   (Policy and/or Pattern-and-Practice of F-1 Student Status Terminations)

      73.    The foregoing allegations are realleged and incorporated herein.




                                          26
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.27 Filed 04/10/25 Page 27 of 31




       74.    Defendants have adopted a policy, or have engaged in a pattern-and-

practice, of unilaterally terminating students’ F-1 student status in SEVIS for reasons

that do not rise to the level required for termination under 8 C.F.R. § 214.1.

       75.    Beginning on or around April 4, 2025, Defendants unilaterally

terminated the F-1 student status of multiple students nationwide en masse, including

Plaintiffs.

       76.    Defendants did not affirmatively notify the affected students or their

schools. Instead, school DSOs learned, via SEVIS, that Defendants had terminated

certain students’ F-1 student statuses. In SEVIS, Defendants recorded the same

boilerplate reason in all cases: “Individual identified in criminal records check

and/or has had their VISA revoked. SEVIS record has been terminated.” Defendants

deliberately did not clarify whether the affected students had been identified in a

criminal records check, whether their F-1 visa had been revoked, or both—willfully

denying students notice of the grounds for the terminations.

       77.    This policy and/or pattern-and-practice constitutes a final agency action

and violates the Administrative Procedure Act (APA) and should be set aside

pursuant to 5 U.S.C. § 706(2) as arbitrary, capricious, an abuse of discretion,

contrary to constitutional right, contrary to law, and in excess of statutory

jurisdiction, and a violation of the Accardi doctrine and federal agencies’ own rules,

see Accardi v. Shaughnessy, 347 U.S. 260 (1954).


                                          27
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.28 Filed 04/10/25 Page 28 of 31




                                    COUNT 4
            Violation of Fifth Amendment – Procedural Due Process
                               (Unlawful Detention)

      78.    The foregoing allegations are realleged and incorporated herein.

      79.    The Fifth Amendment requires fair, pre-deprivation process when a

person’s liberty hangs in the balance.

      80.    In light of the unlawful termination of each Plaintiff’s F-1 student status

under SEVIS, each Plaintiff is at risk of abrupt arrest and detention by Immigration

& Customs Enforcement (ICE) without prior notice.

      81.    No Plaintiff has committed any crime, nor has any Plaintiff been subject

to any academic discipline. Each Plaintiff has ensured that they have complied with

all rules for the F-1 program and have, by all accounts, fully participated in their

courses of study. See Zadvydas v. Davis, 533 U.S. 678, 690 (2001) (finding

immigration detention must further twin goals of (1) ensuring noncitizen’s

appearance during removal proceedings and (2) preventing danger to the

community). There is no credible argument for the need to detain any Plaintiff.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs ask that this Court:

1)    Assume jurisdiction over this matter;

2)    Enter judgment in favor of Plaintiffs and against Defendants;




                                          28
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.29 Filed 04/10/25 Page 29 of 31




3)   Declare that Defendants Noem’s and Lyons’s termination of each Plaintiff’s

     F-1 student status in SEVIS without affording them sufficient notice and

     opportunity to be heard violated each Plaintiff’s Fifth Amendment procedural

     due process rights;

4)   Declare that Defendants Noem’s and Lyons’s termination of each Plaintiff’s

     F-1 student status in SEVIS violated the Administrative Procedure Act

     (including under 8 C.F.R. § 214.1(d));

5)   Declare that Defendants Noem and Lyons have adopted a policy, or have

     engaged in a pattern or practice, of unlawfully terminating students’ F-1

     student statuses, and that this policy and/or pattern-and-practice violates the

     APA;

6)   Issue a temporary restraining order, followed by a preliminary and permanent

     injunction, as to Defendants Noem and Lyons:

        a. requiring them to restore each Plaintiff’s valid F-1 student status in

            SEVIS at their respective schools or provide each Plaintiff with a

            reasonable period to maintain their valid F-1 status by allowing them to

            transfer to another DHS-approved school or to apply for OPT;

        b. requiring them to set aside the F-1 student status termination decisions

            as to Plaintiffs;




                                        29
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.30 Filed 04/10/25 Page 30 of 31




        c. prohibiting them from terminating Plaintiffs’ F-1 student status absent

           a valid ground as set forth in 8 C.F.R. § 214.1(d), and absent an

           adequate individualized pre-deprivation proceeding before an impartial

           adjudicator for each Plaintiff, in which they will be entitled to review

           any adverse evidence and respond to such evidence prior to determining

           anew than any Plaintiff’s F-1 student status should be terminated;

7)   Issue a temporary restraining order, followed by a preliminary and permanent

     injunction, as to all Defendants:

        a. prohibiting them from arresting, detaining, or transferring Plaintiffs out

           of this Court’s jurisdiction, or ordering the arrest, detention, or transfer

           of Plaintiffs out of this Court’s jurisdiction, without first providing

           adequate notice to both this Court and Plaintiffs’ counsel as well as time

           to contest any such action;

        b. prohibiting them from initiating removal proceedings against or

           deporting any Plaintiff on the basis of the termination of their F-1

           student status;

8)   Vacate and set aside Defendants Noem and Lyons’s policy and/or pattern-

     and-practice of unilaterally terminating students’ F-1 student status in SEVIS

     for reasons that do not rise to the level required for termination under 8 C.F.R.

     § 214.1, and accordingly, issue an injunction (i) requiring Defendants Noem


                                         30
Case 2:25-cv-11038-SJM-DRG ECF No. 1, PageID.31 Filed 04/10/25 Page 31 of 31




      and Lyons to restore the valid F-1 status of individuals affected by this policy

      and/or pattern-and-practice and (ii) prohibiting Defendants Noem and Lyons

      from terminating the F-1 status of individuals under this policy and/or pattern-

      and-practice;

9)    Award Plaintiffs attorney fees and other litigation costs pursuant to the Equal

      Access to Justice Act and/or any other applicable law; and

10)   Grant such further relief as the Court deems just and proper.

                           Respectfully submitted,

                           By:   /s/ Ramis J. Wadood
Kevin M. Carlson (P67704)                  Ramis J. Wadood (P85791)
Michael L. Pitt (P24429)                   Philip E. Mayor (P81691)
Cooperating Attorneys, American Civil      Bonsitu Kitaba-Gaviglio (P78822)
  Liberties Union Fund of Michigan         Syeda F. Davidson (P72801)
Pitt McGehee Palmer Bonanni                Daniel S. Korobkin (P72842)
  & Rivers                                 American Civil Liberties Union
117 W. 4th St. Ste. 200                      Fund of Michigan
Royal Oak, MI 48067                        2966 Woodward Avenue
(248) 398-9800                             Detroit, MI 48201
kcarlson@pittlawpc.com                     (313) 578-6800
mpitt@pittlawpc.com                        rwadood@aclumich.org
                                           pmayor@aclumich.org
Russell Abrutyn (P63968)                   bkitaba@aclumich.org
Cooperating Attorney, American Civil       sdavidson@aclumich.org
  Liberties Union Fund of Michigan         dkorobkin@aclumich.org
Abrutyn Law PLLC
15944 W 12 Mile Rd
Southfield, MI 48076
(248) 965-9440
russell@abrutyn.com

Attorneys for Plaintiffs                             Dated: April 10, 2025


                                         31
